                                                ATCHARLR SMLE vA
                                                       FILED   I
.
 -       Case 3:17-cv-00072-NKM-JCH Document 198 Filed 01/19/18 Page 1 of 1 Pageid#: 1023
#'
.
r     '-
    & ..Xx
            h
                                                                                              JAN 19 2218
                                                 JULI . U   lcuuqx
                                     %
                                                BY:
      AFFIDAVIT FOR SERVICE OF PR O CESS O N TH E      r
                                                       '
                                                          f
                                                          -
                                                          '
                                                                ..               o
                                                                                 -
                                                                                 a:17-cv-00072-N KM
                                                             1..* ..........................................................

      SECRETARY OF TH E CO M M O NW EA LTH
      Colpmonwealth ofV irginia
     Va.Code j8.01-301,-3l0,-329;55-218.1;57-51




     TO THE PERSON PREPARING THIS AFFIDAVIT'
                                           .You mustcom ply with theappropriaterequirem entslisted on theback ofthisform.

     Att                                                                     Summ onsand Amended Complaint
           achments'
                   . g.j'
                        Wan-
                           ant ( 1MotionforJudgment( jGarnishl
                                                             nentSummons gK1..
                                                                             ...............................................,
     1,theundersigned Affiant,stateunderoath that:


     %Vl1OSelast12r1oAvnaddressis:()C1 sarneasat)oA?e g 1....,.........................,.......................................................................

            (xl isan.on-residentoftheColzunonwealthofVirginiaoraforeigncorporationandVirginiaCode.
                                                                                                 j'8.O1-328.1(A)..... .....
                    applles(seeNON-RESIDENCE GROUNDS QUl M ENT onreverse).
                    isaperson whom thepal-tyseekingservice,afterexercising duediligence,hasbeenunabletolocate(seeDUE DILIGENCE
                    REQUIREMENT ON BACK)andthat
                                                           isthereturndateontheattachedwarrant,m tionforjudgmentornotice(seeTIMELY SERVICE
                                                           REQUIREMENTonreverse).              ,u
                                                                                              //
             1          'csh1'
                       DATE                                                         (1PARTY
                                                                                                          -            '
                                                                                                                       /j
                                                                                                                        -..3-
                                                                                                                            'tJq'
                                                                                                 PARTY'SATTORNEY ()PARTY'SAGENT
                                                                                                                                ,
                           h.n   w                     qqvd$11111111,êê.
                                                             r o                                                  ,
     Stateof............
                       ï.
                        k'.
                          L....
                              tl
                               .
                               b.
                                1l
                                 ..t!x...
                                        *.
                                         K%%%%.
                                              %
                                              's
                                               -
                                               .
                                               !h
                                                ,4
                                                 .t
                                                  1.
                                                  .1.
                                                    L...
                                                       r..
                                                       .
                                                         -.L
                                                           ;.
                                                            '.qvç
                                                                jt?h':yAjy......... gqtzit)rf;)l(lountyof....7778 . . ........................................
                                                                #
     Acknowledged,subscribedandw2
                                ,o'ï'pe
                                      -*d
                                        e.ti
                                           e
                                           ef
                                            :or
                                              peo,411
                                                    .w,
                                                      ..ls
                                                         z
                                                         .
                                                         ilsv$:.... ...---....
                                                                           --......... da)
                                                                                .
                                                                                                  ,.
                                                                                         /of........--.
                                                                                                      x.................. ............,2O.1g    ...............

                               F !2                   O! I    a                                                *

     '
              NOTARYREGTSTRATIONNUN/ VIWW%.*We         %N/* Q RK (1MA S RATE NOTARYPUBL      IC(Mycommissionexpires:...-
                                                                                                                       ......
                                                                                                                            *... ............)
           veritication ofthedateoft5ll
                                      l .tIC          5 .k* %               .
                                                                                           '
                                              <. p.9
                                               6.# ..:e tI# compliancerequestedintheself-addressedstampedenvelopeprovided.
     NOTICEYo
           TOuTHERECIPIENTfrom*44* Jiçoonhlesec#         r'
                                                          etm.
                                                             yofthecommonwealthofvirginia:
              arebeing served with thisnotice and attache pleadingsunderSection 8.01-329 ofthe Codeofvirginiawhich designates
              the Secretmx ofthe Com monwealth asstatutory agentforServiceofProcess.The Secretary oftheCommonwealth'sONLY
              responsibility isto m ail,by cel-tified mail,retulm receiptrequested,the enclosed papersto you.Ifyou have any questions
               concerning thesedocum ents,you may wish to seek advicefrom a lawyer.
     SERVICE OF PROCESS IS EFFECTIVE ON THE DATE THAT THE CERTIFICATE OF COM PLIAN CE IS FILED W ITH THE
     ABOVE-NAM ED COURT.
                                                         CERTIFICATE O F COM PLIANCE
     1,the undersigned,Clerk in theOffice ofthe Secretal'    y ofthe Commonwea1th,hereby certify thefollowing:
                                 '                         '

            on ...................J
                                  . ..#
                                      .. #
                                         . .J
                                            '   0 ....2..g..1.8
                                            .. ....1          .............................. , l
                                                                                               egalservicein theabove-styled casewasm ade uson thesecretal.
                                                                                                                                                          y ofthe
            commonwealth,asstatutqryagrntfbrpersonstobeservedinaccordancewithsection8.01-329ofthecodeJfvirginia,asamended.
            On.............................'j/
                                         -   .
                                             !.l
                                               h!1:..:-
                                                   '
                                         ...........
                                                      4
                                                      ?
                                                      .-...?
                                                           <(
                                                            )18 ...............,papersdescribed in theAffidavitwere-forwarded b 4itie-d mail,return
                                                               ..........

            receiptrequested,to the party designated to beserved withprocessin theAffidavit.                                           =.'

                                                                                          SERVICE OFPROCESSCLERK.DESIGNATE 'THE        HORITY OFTHE
                                                                                                       SECRETARY OFTEIECONIMONîVEALTI'I
      FOR5'lDC-410(FRONT)I1/07
